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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE: PHILIPS RECALLED CPAP, BI-             Master Docket: Misc. No. 21-mc-1230-JFC
 LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS                           MDL No. 3014
 LITIGATION

 This Document Relates to:
 All Actions Asserting Claims for Medical
 Monitoring



         NOTICE OF FILING OF REVISED PROPOSED ORDER GRANTING
          FINAL APPROVAL OF CLASS SETTLEMENT AGREEMENT AND
        RELEASE OF MEDICAL MONITORING CLAIMS, FINAL JUDGMENT,
                   INJUNCTION AND ORDER OF DISMISSAL

       On October 9, 2024, Settlement Class Counsel filed a Motion for Final Approval of Class

Settlement Agreement and Release of Medical Monitoring Claims, Final Judgment, Injunction and

Order of Dismissal (ECF 3011) (“Motion”) and papers in support, including a Proposed Order

Granting Final Approval of Class Settlement Agreement and Release of Medical Monitoring

Claims, Final Judgment, Injunction and Order of Dismissal (ECF 3011-1) (“Proposed Order”). On

October 17, 2024, Settlement Class Counsel filed additional timely objections received after

October 9, 2024, an amended brief in response to those objections, and amended objection charts

(exhibits 3a and 3b to the brief) (ECFs 3013, 3014, 3015). On October 24, 2024, the Notice

Administrator sent correspondence to each Objector in compliance with this Court’s October 22,

2024 Order (ECF 3016). Settlement Class Counsel have updated their Proposed Order to

incorporate the above filings and events, and they hereby file the attached revised Proposed Order,

and a redline showing the changes from the Proposed Order filed at ECF 3011-1.
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DATED: October 28, 2024                     Respectfully submitted,

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